1846 (Rev. 029) J Daie 5:19-cv-05310-GIWILDOOMER SHEEN 1/12/25: Page-lytig_3/O

The Is 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by tocal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of the,
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM) i ce

I. (a) PLAINTIFFS DEFENDANTS
THERESA WEIRBACH THE CELLULAR CONNECTION, LLC

   
  
   
     

 

 

    

amilton County, iN

   

  

(b) County of Residence of First Listed Plainti
(EXCEPT IN U.S. PLAINT

County of Residence of First Listed Defendant
(IN US. PLAINTIFF CASTS

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
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{c) Alorneys (Firm Name, Address, and Telephone Number) 2 Attorneys (if Known)
LEVAN LAW GROUP LLC, ONE LOGAN SQ, - 27TH FLO
PA 19103 (215) 561-1500
Il. BASIS OF JURISD face an “X" in One Box Only) IE. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and Que Box for Defendant)
Cl U.S. Government Fa! 3 Federal Question PYF DEF PTF DEF
Plaintiff LS, Government Not a Party) Citizen of This State Of OF 1 Incorporated or Principat Place o4 04
of Business in This State
02 U.S. Government versity Citizen of Another State O2 OF 2 Incorporated aid Principal Place O5 5
Defendant (indicate Citizenship of Parties in Item iD} of Business In Another State
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IV. NATURE OF SUIT (iace an “x” in One Box Only} Click here for: Nature of Suit Code Descriptions
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OF 120 Marine 0 310 Airplane O 365 Personal Injury « of Property 21 USC 88 10 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act 7 315 Airplane Product Product Liability CG 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability O 367 Health Care/ 7 400 State Reapportionment
11 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical “PROPERTY RIGHTS:::2::40) 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights 430 Banks and Banking
1 151 Medicare Act O 330 Federal Employers’ Product Liability 0 830 Patent CF 450 Commerce
7 152 Recovery of Defaulted Liability OF 368 Asbestos Personal Y © 835 Patent - Abbreviated 0 460 Deportation
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of Veteran’s Benefits C} 350 Motor Vehicle O 370 Other Fraud PF Tip Fair Labor Standards O 861 HEA (13995ff) CO 485 Telephone Consumer
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0 190 Other Contract Product Liability O 380 Other Personal 0/726 Labor/Management G 863 DEWC/DIWW (405(8)) {0 490 Cable/Sat TV
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0 196 Franchise Injury O 385 Property Damage CF 740 Railway Labor Act G 865 RSE (495(p)) Exchange
1) 362 Personal Enjury - Product Liability 0 751 Family ant Medical & 890 Other Statutory Actions
Medical Malpractice Leave Act 891 Agricultural Acts
Do REAL PROPERTY... -CIVIE RIGHTS” |: PRISONER PETITIONS:.|( 790 Other Labor Litigation = [P= |, FEDERAL TAX'SUITS! 2.10 893 Environmental Matters
0) 210 Land Condemnation D440 Other Civil Rights Habeas Corpus: 0 791] Employee Retirement 0 870 Taxes (US. Plaintiff 3 895 Freedom of Information
O 220 Poreclostire O 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment O 442 Employment £7 510 Motions to Vacate O 871 ERS—Third Party 0 896 Arbitration
OD 2460 Torts to Land 0 443 Housing’ Sentence 26 USC 7609 O 899 Administrative Procedure
245 Tort Product Liability Accommodations 11 530 General ActReview or Appeal of
0 290 AH Other Real Property CO 445 Amer. w/Disabilities -| (J 535 Death Penalty IMMIGRATION ©: Z Agency Deciston
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(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De sot cite jurisdictional statutes untess diversity):
WV 39 USG 201, et seq. Fair Labor Standards Act
» CAUSE OF ACTION Brief description of cause:
failure to pay overtime 1)
VII. REQUESTED IN ~— (CHECK IF THIS IS A CLASS ACTION DEMAND $ a CHECK YES only/f gefanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. INOK  gorvpemantke* yes No

 

VII. RELATED CASE(S)

IF ANY (See instructions): JUDGE om DOCKET NUMBER N Z 7
DATE SIGNATURE OF Al ORNEY ‘
11/12/2019 eG

FOR OFFICE USE ONLY Dow

 

RECEIPT # AMOUNT APPLYENG JFP FUDGE MAG. JUDGE

 

 
Case 5:19-cv-05310-JDW Document1 Filed 11/12/19 Page 2 of 16
Po Rae AASB Pome 0116.

 

 

DESIGNATION FORM
{io be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: Whitehall Township, PA
Address of Defendant: Carmel, IN

 

Allentown, PA

Place of Accident, Incident or Transaction:

 

 

Pa
RELATED CASE, IF ANY: ( FY uy
Case Number: Judge: JAS Date Terminated:

Civil cases are deemed related when Fes is answered to any of the following questions:

 

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No
previously terminated action in this court?

 

 

 

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No
pending or within one year previously terminated action in this court?

 

 

 

 

 

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3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No
numbered case pending or within one year previously terminated action of this court?

 

 

 

 

 

 

 

 

4. Is this case a second or successive habeas corpus, socialsecyrity appeal, or pro se civil rights Yes No |
case filed by the same individual? .

 

 

  
 
 

I certify that, to my knowledge, the within case [C7] is | [e] is Mot related to any case now pending or within one year previously terminated action in
oo

 

 

 

  

 

this court except as noted above.
pate: 11/14/2019 PK ccprbee 73501
Aitorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable}
CIVIL: (Place a V in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
[-] 1. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
Ll 2. FELA f] 2. Airplane Personal Injury
[1 3. Jones Act-Personal Injury LL] 3. Assault, Defamation
Li 4. Antitrust [J 4. Marine Personal Injury
5. Patent fF] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
CL] 7. Civil Rights [.] 7. Products Liability
[] 8. Habeas Corpus {1 8. Products Liability - Asbestos
[7] 9. Securities Act(s) Cases (A 9. All other Diversity Cases
| . Social Security Review Cases (Please specify):
. All other Federal Question Cases
: (Please specify): 29 usc 201, FLSA

 

  

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

Peter A. Muhic

, counsel of record or pro se plaintiff, do hereby certify:

 

 

Pursuant to Local Civil Rule 53.2, § 3(¢) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

 

 

 

qa)

 

 

Relief other than monetary damages is sought. N () \ \ 2 8

pare, 11/11/2019 Prag 73501

Attorney-at-Law / Pro Se Plaintiff Attorney 1D. # (if applicable)

 

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

 

Civ, 669 (5/2618)
Case 5:19-cv-05310-JDW Document1 Filed 11/12/19 Page 4 of 16
. Capers gyeW-05910-IDW Document 1 Filed 11/12/19 Page 5 of 16
a

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

   

THERESA NYE) aR dtc bf : CIVIL ACTION
‘ ee ey
. Ow
THE CELLULAA_ CONNECTION, LLC! NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shail, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255, ( )

(b} Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration -- Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos —- Cases involving claims for personal injury or property damage from
exposure to asbestos. ; ( )

(ce) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

 

 

 

the court. (See reverse side of this form for a detailed explanation of special “So
management cases.) i)
(f) Standard Management— Cases that do not fall into any one of the other tracks. (
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} I hz (14 tebe pt ‘Vv Ubvc. Plast a
Date Attorney-at-law Attorney for
2ISSGIIGO 2-6 27-8390 uhie © Jevan fowninp
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Case 5:19-cv-05310-JDW Document1 Filed 11/12/19 Page 6 of 16

Civil Jastice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b} In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track.
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial. proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e} Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, of the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (ec) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation” as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See $0.1 of the
first manual. Cases may tequire special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time: and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities, patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft ctashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
 

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Spw

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

 

THERESA WEIRBACH on behalf of herself and

 

all others similarly situated, Case No,
Plaintiff, COLLECTIVE ACTION
-against- COMPLAINT

THE CELLULAR CONNECTION, LLC,

Defendant.

 

 

COLLECTIVE ACTION COMPLAINT

Plaintiff Theresa Weirbach, along with any other similariy situated employees who may
join this action (“Plaintiff”), by her attorneys, Levan Law Group LLC and Shavitz Law Group,
P.A., upon personal knowledge as to herself and upon information and belief as to other matters,
alleges as follows:

INTRODUCTION

1. Plaintiff brings this lawsuit as a collective action pursuant to the Fair Labor
Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (“FLSA”), on behalf of herself and
all other persons similarly situated who suffered damages as a result of Defendant’s violations of
the FLSA.

2. As more fully described below, during the relevant time periods, Defendant
willfully violated the FLSA by failing to pay its non-exempt hourly Sales Representatives and
Technical Advisors, including Plaintiff and all other similarly situated employees, for all of their
overtime hours worked based upon its unlawful policies and practices.

3. While Defendant required Sales Representatives and Technical Advisors to work

overtime hours, as more fully described herein, it did not pay them for all hours worked outside
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of the store, including for mandatory work utilizing group messaging applications such as
GroupMe, participating in regularly scheduled conference calls, and otherwise communicating
with other employees about work matters.

4, Accordingly, Defendant failed to credit —- and therefore compensate — Plaintiff and
Sales Representatives and Technical Advisors for all of their hours worked in violation of the
FLSA.

THE PARTIES

Plaintiff

5. Plaintiff Weirbach is a citizen and resident of Whitehall, Pennsylvania.

6. Plaintiff Weirbach worked for Defendant as a non-exempt, hourly-paid Sales
Representative from approximately May 2017 to June 2018 at the Hamilton Boulevard store in
Allentown, Pennsylvania.

7. At all times relevant, Plaintiff was an “employee” within the meaning of Section
3(e) of the FLSA, 29 U.S.C. § 203(e).

8. Plaintiff Weirbach’s written consent to join form is attached as Exhibit A.

Defendant

9, The Cellular Connection, LLC (“TCC”) is an Indiana corporation with its
principal place of business at 525 Congressional Blvd, Carmel, Indiana 46032.

10. TCC operates approximately 873 stores in the United States that offer cellular
phones and services to customers,

11. TCC operates approximately 115 stores in Pennsylvania.
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12. At all times relevant, TCC was and still is a covered “employer” within the
meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203¢d). TCC employed and/or jointly
employed Plaintiff and similarly situated employees within the meaning of the FLSA. Defendant
has substantial control over Plaintiff’ working conditions and the unlawful policies and practices
alleged herein.

13. Defendant directly or indirectly acted in the interest of an employer towards
Plaintiff and other similarly situated employees at all material times, including without
limitation directly or indirectly controlling the terms of employment of Plaintiff and other
similarly situated employees.

JURISDICTION AND VENUE

 

14. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.
§ 1331 and by 29 U.S.C. § 201, et seg.

15, This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.
§§ 2201 and 2202.

16. Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C.
§ 1391(b)@) because a substantial part of the events or omissions giving rise to the claims
occurred in this district, and the Defendant is subject to personal jurisdiction in this district. At
all times material hereto, Plaintiff performed non-exempt duties for the Defendant in a retail
store within this district and within the jurisdiction and venue of this Court.

17. At all times material to this Complaint, the Defendant was an enterprise engaged

in interstate commerce or in the production of interstate goods for commerce as defined by the
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Act, 29 U.S.C. §§ 203(r) and 203(s). Defendant’s gross receipts for the three years preceding the
filing of this lawsuit exceeded $500,000.00.
FACTS COMMON TO ALL CLAIMS

The FLSA Collective

18. The proposed FLSA Collective is defined as follows:

All non-exempt hourly retail associates (including Sales Representatives,
Technical Advisors and similarly titled employees) employed by TCC at
any retail store location throughout the United States on or after November
12, 2016 to the date of judgment of this action, who have not been paid for
ali overtime hours worked.

Plaintiff's Off-the-Clock Work

19. Sales Representatives and Technical Advisors employed by TCC perform non-
exempt duties including customer service and sales of cellular phones and phone plans.

20. Throughout their employment as Sales Representatives and Technical Advisors
with TCC, Plaintiff and the similarly situated employees performed work during overtime hours
outside of the store without compensation.

21. While employed as a Sales Representative, Plaintiff was advised and informed by
managers of TCC that employee participation was mandatory while out of the store and off-the-
clock for work-related communications by and among TCC employees utilizing group
messaging applications such as GroupMe, participating in regularly scheduled conference calls
with employees and managers, and communicating with customers about products and sales and

co-workers and managers about work matters, in addition to completing paperwork not

completed while in the store and on the clock, Among other tasks, Plaintiff and the similarly
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situated employees were directed to use group messaging applications to communicate with co-
workers and managers via phone and text messages about work-related matters.

22. TCC does not provide a method by which Plaintiff and the similarly situated
employees can record and be paid for such time worked outside of the store.

23. Pursuant to TCC’s policies and procedures, TCC failed to record all of the hours
worked by Plaintiff and the other Sales Representatives and Technical Advisors, thereby
resulting in the failure to pay overtime in violation of the FLSA.

24, Plaintiff estimates that she worked about 5 to 10 unpaid overtime hours per
workweek.

Defendant’s Off-the-Clock Violations

25. Plaintiff and the proposed FLSA Collective members worked as non-exempt
classified Sales Representatives and Technical Advisors at TCC retails stores.

26. Defendant is aware that Plaintiff and the proposed FLSA Collective worked off-
the-clock overtime hours. But, Defendant failed and continues to fail to pay them all of their
overtime compensation by failing to credit them for all of the hours they work over 40 in a
workweek and suffering or permitting Plaintiff and the proposed FLSA Collective to work off-
the-clock hours, during which they performed their Sales Representative and/or Technical
Advisor duties.

27. Defendant maintains time records for its non-exempt hourly Sales Representative
and/or Technical Advisor throughout the United States.

28. However, those time records fail to accurately reflect all of the hours worked by

Plaintiff and the similarly situated retail associates, based upon Defendant’s policies and
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procedures for requiring Plaintiff and the similarly situated Sales Representatives and/or
Technical Advisors to work off the clock and not crediting all time worked.

29, Defendant required Plaintiff and the proposed FLSA Collective to work while off-
the-clock, but did not pay them for these unrecorded hours in violation of the FLSA.

30. Defendant knew or should have known that Plaintiff and the proposed FLSA
Collective worked unpaid time because Defendant’s managers and agents witnessed the unpaid
time worked while on group messaging applications, conference calls, and/or assigning work to
be completed outside of the store. Defendant also failed to maintain a timekeeping system to
track time worked outside of the store despite its employees regularly working outside of the
store,

31. Based upon Defendant’s policies and procedures, Defendant failed to keep
accurate records of hours worked by Plaintiff.

32.  Defendant’s failure to pay Plaintiff and the proposed FLSA Collective for all
hours worked was due to a corporate policy to limit labor expenditures and preserve corporate
profits.

FLSA COLLECTIVE ACTION ALLEGATIONS

33, Plaintiff brings the First Cause of Action, pursuant to FLSA, 29 U.S.C. § 216(b),
on behalf of herself and the proposed FLSA Collective.

34. Defendant assigned and/or has been aware of all of the work that Plaintiff and the
proposed FLSA Collective have performed.

35. As part of its regular business practice, Defendant has intentionally, willfully, and

repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to
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Plaintiff and the proposed FLSA Collective. This policy and pattern or practice includes, but is not
limited to:
a. willfully failing to pay Plaintiff and the members of the FLSA Collective

overtime wages for all of the hours they worked for Defendant in excess of
40 hours per workweek; and

b, willfully failing to record all of the time that its employees, including
Plaintiff and the FLSA Collective, have worked for Defendant.

36. Defendant is aware or should have been aware that federal law requires it to pay
Plaintiff and members of the FLSA Collective an overtime premium for all hours worked in
excess of 40 per workweek.

37. Plaintiff and the FLSA Collective all perform or performed the similar duties of
Sales Representatives and Technical Advisors at TCC retail stores throughout the country.

38. Plaintiff and the FLSA Collective all were compensated on an hourly basis.

39. Plaintiff and the FLSA Collective all were subject to the same employment
policies, procedures, and practices as centrally disseminated by Defendant.

40. Defendant’s unlawful conduct has been widespread, repeated, and consistent.

FIRST CAUSE OF ACTION

FLSA- Unpaid Overtime Wages
(Brought on behalf of Plaintiff and the FLSA Collective)

 

41. Plaintiff incorporates by reference all preceding allegations.

42. Defendant has engaged in a widespread pattern and practice of violating the
FLSA, as described in this Collective Action Complaint.

43. Plaintiff consented in writing to be a party to this action, pursuant to 29 U.S.C. §

216(b).

 
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44. _ At all relevant times, Plaintiff and other similarly situated current and former
employees were engaged in commerce and/or the production of goods for commerce within the
meaning of 29 U.S.C. §§ 206(a) and 207(a).

45. The overtime wage provisions set forth in §§ 201 ef seg. of the FLSA apply to
Defendant.

46. Defendant is an employer engaged in commerce and/or the production of goods
for commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

47. At all times relevant, Plaintiff was an employee within the meaning of 29 U.S.C.
§§ 203(e) and 207(a).

48. Defendant has failed to pay Plaintiff and other similarly situated current and
former employees all of the overtime wages to which they were entitled under the FLSA.

49. Defendant’s violations of the FLSA, as described in this Collective Action
Complaint, have been wiilful and intentional. Defendant has failed to make a good faith effort to
comply with the FLSA with respect to its compensation of Plaintiff and other similarly situated
current and former employees.

50. Because Defendant’s violations of the FLSA have been willful, a three-year
statute of limitations applies, pursuant to 29 U.S.C. § 255.

51. As a result of Defendant’s willful violations of the FLSA, Plaintiff and all other
similarly situated employees have suffered damages by being denied overtime wages in
accordance with 29 U.S.C. §§ 201 ef seq.

52. As a result of the unlawful acts of Defendant, Plaintiff and other similarly situated

current and former employees have been deprived of overtime compensation and other wages in
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amounts to be determined at trial, and are entitled to recovery of such amounts, liquidated
damages, prejudgment interest, attorneys’ fees, costs and other compensation pursuant to 29
ULS.C. § 216(b).
PRAYER FOR RELIEF
WHEREFORE, Plaintiff, individually and on behalf of all other similarly
situated persons, seeks the following relief:

A, That, at the earliest possible time, Plaintiff be allowed to give notice of this
collective action, or that the Court issue such notice, to all members of the proposed FLSA
Collective. Such notice should inform them that this civil action has been filed, of the nature of
the action, and of their right to join this lawsuit, among other things;

B. Unpaid overtime pay, and an additional and equal amount as liquidated damages
pursuant to the FLSA and the supporting United States Department of Labor regulations;

C. Pre-judgment interest and post-judgment interest as provided by law;

D. Appropriate equitable and injunctive relief to remedy violations, including but not
necessarily limited to an order enjoining Defendant from continuing its unlawful practices;

E. Attorneys’ fees and costs of the action;

F. An appropriate service award for Plaintiff's efforts and service to the proposed
FLSA Collective; and

G. Such other injunctive and equitabie relief as this Coyrt-sh eem just and proper.

Dated: Philadelphia, Pennsylvania s/ Peter A. Muhic j tl /

November 12, 2019 LeVAN LAW GROUP LLC
Peter A. Muhic (PA Bar No. 73501)
One Logan Square — 27" Floor

 
Case 5:19-cv-05310-JDW Document1 Filed 11/12/19 Page 16 of 16

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Attorneys for Plaintiff and the proposed
FLSA Collective

*to apply for admission pro hac vice
